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                               Exhibit A
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  ‭Via Email‬                                                            ‭ ew York‬
                                                                         N
                                                                         ‭3 World Trade Center‬
  ‭ eke DeRose III‬
  Z                                                                       ‭175 Greenwich Street‬
  ‭The Lanier Law Firm, PC‬                                                ‭New York, NY 10007‬
                                                                            ‭T‬‭+1 212 284 4910 (Direct)‬
   ‭Zeke.DeRose@lanierlawfirm.com‬                                           ‭F‬‭+1 646 521 5710‬
                                                                              ‭E‬‭rob.mccallum@freshfields.com‬
  J‭ oseph M. Graham, Jr.‬                                                     ‭www.freshfields.com‬
   ‭Geraldine Young‬
    ‭Marc B. Collier‬
     ‭Norton Rose Fulbright US LLP‬
      ‭joseph.graham@nortonrosefulbright.com‬
       ‭geraldine.young@nortonrosefulbright.com‬
        ‭marc.collier@northrosefulbright.com‬

                                                                  ‭April 1, 2024‬


 ‭Re:‬   ‭The State of Texas et al. v. Google LLC,‬‭No. 4:20-cv-00957-SDJ‬
 ‭Counsel:‬
          ‭I‬‭write‬‭in‬‭response‬‭to‬‭your‬‭email‬‭dated‬‭March‬‭26,‬‭2024‬‭regarding‬‭Texas’s‬‭Second‬‭Set‬‭of‬
 ‭ equests‬ ‭for‬ ‭Production,‬ ‭and‬ ‭Google’s‬ ‭productions‬ ‭of‬‭contracts‬‭with‬ ‭publishers.‬ ‭As‬‭Plaintiffs‬
 R
 ‭know,‬‭Google‬‭has‬‭already‬‭made‬‭extensive‬‭productions‬‭of‬‭template‬‭contracts‬‭between‬‭customers‬
  ‭concerning‬ ‭Google’s‬ ‭Ad‬ ‭Tech‬ ‭products,‬ ‭contracts‬ ‭with‬ ‭Open‬ ‭Bidding‬ ‭partners,‬ ‭contracts‬ ‭with‬
   ‭Google’s top 50 publisher customers from 2014-2020, and integration agreements.‬
         ‭Google made the following productions available during the pre-suit investigation:‬
              ‭●‬ ‭In‬ ‭response‬ ‭to‬ ‭DOJ‬ ‭CID‬ ‭30120,‬ ‭Google‬ ‭produced‬ ‭template‬ ‭contracts‬ ‭on‬
                   ‭November 6, 2019 (PROD013 to the Department of Justice);‬
              ‭●‬ ‭In‬ ‭response‬ ‭to‬ ‭June‬ ‭2020‬ ‭TX‬ ‭CID,‬ ‭Google‬ ‭conducted‬ ‭a‬‭reasonable‬‭search‬‭of‬‭its‬
                   ‭contract‬‭database‬‭for‬‭Open‬‭Bidding‬‭partners‬‭and‬‭produced‬‭responsive‬‭documents‬
                    ‭on August 19, 2020 (PROD016);‬
              ‭●‬ ‭In‬ ‭response‬ ‭to‬ ‭September‬ ‭2019‬‭TX‬‭CID,‬‭Google‬‭identified‬‭the‬‭Top‬‭50‬‭publisher‬
                   ‭customers‬‭from‬‭2014-2020,‬‭conducted‬‭a‬‭reasonable‬‭search‬‭of‬‭its‬‭contract‬‭database‬
                    ‭corresponding‬ ‭to‬ ‭each‬ ‭of‬ ‭those‬ ‭publisher‬ ‭customers,‬ ‭and‬‭produced‬‭the‬‭output‬‭of‬
                     ‭that search on July 14, 2020 (PROD012) and August 18, 2020 (PROD015); and‬
              ‭●‬ ‭In‬ ‭response‬ ‭to‬ ‭DOJ‬ ‭CID‬ ‭30471,‬ ‭Google‬ ‭produced‬ ‭341‬ ‭integration‬ ‭agreements‬
                   ‭between‬ ‭Google‬ ‭and‬ ‭48‬ ‭counterparties‬ ‭on‬ ‭January‬ ‭28,‬ ‭2021‬ ‭(PROD059‬ ‭to‬ ‭the‬
                    ‭Department‬ ‭of‬ ‭Justice)‬ ‭and‬ ‭on‬ ‭July‬ ‭9,‬ ‭2021‬ ‭(PROD024‬ ‭to‬ ‭the‬ ‭Department‬ ‭of‬
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                                                                                                         ‭April 1, 2024‬
                                                                                                                 ‭Page‬‭2‬


                   J‭ ustice).‬ ‭Those‬ ‭counterparties‬ ‭are‬ ‭identified‬ ‭in‬ ‭Appendix‬ ‭1‬ ‭to‬ ‭this‬‭letter,‬‭which‬
                    ‭Google is designating as Confidential information.‬
          ‭Google has made additional productions during discovery in the MDL:‬
              ‭●‬ ‭To‬‭supplement‬‭PROD013‬‭to‬‭DOJ‬‭(November‬‭6,‬‭2019)‬‭and‬‭custodial‬‭productions,‬
                   ‭and‬ ‭in‬ ‭response‬ ‭to‬ ‭MDL‬ ‭RFP‬ ‭272,‬ ‭Google‬ ‭conducted‬ ‭a‬‭reasonable‬‭search‬‭of‬‭its‬
                    ‭contract‬ ‭database‬ ‭for‬ ‭U.S.‬ ‭contracts‬ ‭that‬ ‭were‬ ‭categorized‬ ‭as‬ ‭“Ads”‬ ‭and‬
                     ‭designated‬ ‭as‬ ‭a‬ ‭“template.”‬ ‭In‬ ‭addition,‬ ‭Google‬ ‭made‬ ‭reasonable‬ ‭inquiries‬ ‭of‬
                      ‭relevant‬ ‭employees‬ ‭with‬ ‭responsibility‬ ‭for‬ ‭GAM,‬ ‭Google‬ ‭Ads,‬ ‭and‬ ‭DV360‬
                       ‭regarding‬ ‭responsive‬ ‭template‬ ‭contracts.‬ ‭Google‬ ‭produced‬ ‭the‬ ‭output‬ ‭of‬ ‭these‬
                        ‭searches on August 18, 2023 (in MDL PROD043 and MDL PROD046);‬
              ‭●‬ ‭To‬ ‭supplement‬ ‭PROD016‬‭to‬‭Texas‬‭(August‬‭19,‬‭2020)‬‭and‬‭custodial‬‭productions,‬
                   ‭and‬ ‭in‬ ‭response‬ ‭to‬ ‭MDL‬ ‭RFP‬ ‭37,‬ ‭Google‬ ‭conducted‬ ‭a‬ ‭further‬ ‭search‬ ‭of‬ ‭its‬
                    ‭contract‬ ‭database‬ ‭for‬ ‭contracts‬ ‭with‬ ‭its‬ ‭Open‬ ‭Bidding‬ ‭and‬ ‭Exchange‬ ‭Bidding‬
                     ‭partners.‬ ‭Google‬ ‭produced‬ ‭the‬ ‭output‬ ‭of‬ ‭that‬‭search‬‭on‬‭August‬‭24,‬‭2023‬‭(MDL‬
                      ‭PROD047),‬‭September‬‭1,‬‭2023‬‭(MDL‬‭PROD052)‬‭and‬‭September‬‭8,‬‭2023‬‭(MDL‬
                       ‭PROD059); and‬
              ‭●‬ ‭To‬‭supplement‬‭PROD059‬‭to‬‭DOJ‬‭(January‬‭28,‬‭2021)‬‭and‬‭PROD024‬‭to‬‭DOJ‬‭(July‬
                   ‭9,‬ ‭2021)‬ ‭and‬ ‭custodial‬ ‭productions,‬ ‭and‬ ‭in‬ ‭response‬ ‭to‬ ‭MDL‬ ‭RFP‬ ‭70,‬ ‭Google‬
                    ‭conducted‬ ‭a‬ ‭further‬ ‭search‬ ‭of‬ ‭its‬ ‭contract‬ ‭databases‬ ‭for‬ ‭additional‬ ‭integration‬
                     ‭agreements.‬ ‭Google‬ ‭produced‬ ‭the‬ ‭output‬ ‭of‬ ‭that‬ ‭search‬ ‭on‬ ‭August‬ ‭24,‬ ‭2023‬
                      ‭(MDL PROD047).‬
            ‭ gainst‬‭that‬‭backdrop,‬‭Plaintiffs‬‭have‬‭more‬‭than‬‭sufficient‬‭discovery‬‭by‬‭which‬‭to‬‭identify‬
            A
 ‭contracts‬ ‭and‬ ‭specific‬ ‭provisions‬ ‭in‬ ‭response‬ ‭to‬ ‭Google’s‬ ‭Interrogatory‬ ‭No.‬ ‭12‬ ‭and‬ ‭to‬ ‭take‬
  ‭depositions‬‭implicating‬‭publisher‬‭contracts,‬‭including‬‭30(b)(6)‬‭testimony.‬ ‭In‬‭light‬‭of‬‭the‬‭diligent‬
   ‭and‬ ‭comprehensive‬ ‭searches‬ ‭already‬ ‭undertaken,‬ ‭Google‬ ‭does‬ ‭not‬ ‭intend‬ ‭to‬ ‭conduct‬ ‭further‬
    ‭searches‬ ‭or‬ ‭identify‬ ‭additional‬ ‭publisher‬ ‭counterparties‬ ‭in‬ ‭response‬ ‭to‬ ‭Texas’s‬ ‭Second‬ ‭Set‬ ‭of‬
     ‭Requests for Production or Plaintiffs’ 30(b)(6) notice.‬


                                                                  ‭Sincerely,‬

                                                                  ‭/s/ Robert J. McCallum‬

                                                                  ‭Robert J. McCallum‬
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                                                                     ‭ ONFIDENTIAL‬
                                                                     C
                                                                ‭Appendix 1, Page 1 of 2‬


                                   ‭APPENDIX 1‬

              ‭Names of 48 Counterparties to the Integration Agreements‬
